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                                                   THE HONORABLE JOHN C. COUGHENOUR
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 6
                               UNITED STATES DISTRICT COURT
 7
                              WESTERN DISTRICT OF WASHINGTON
 8                                      AT SEATTLE

 9          UNITED STATES OF AMERICA,                     CASE NO. CR17-0085-JCC
10                            Plaintiff,                  MINUTE ORDER
11                 v.

12           JAMES LOWELL PHILLIPS,

13                            Defendant.
14

15          The following Minute Order is made by direction of the Court, the Honorable John C.
16   Coughenour, United States District Judge:
17          This matter comes before the Court on the Government’s application for writ of habeas
18   corpus ad prosequendum (Dkt. No. 25). This matter is hereby REFERRED to the criminal duty
19   magistrate judge.
20          DATED this 19th day of April 2017.
21                                                       William M. McCool
                                                         Clerk of Court
22

23                                                       /s/Paula McNabb
                                                         Deputy Clerk
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     MINUTE ORDER CR17-0085-JCC
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